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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                 )
                                           )
                                           )
 V.                                        )    CRIMINAL NO. 2:10-CR-136-DBH-03
                                           )
 HASAN WORTHY,                             )
                                           )
              DEFENDANT/PETITIONER         )


               ORDER AFFIRMING RECOMMENDED DECISION
                      OF THE MAGISTRATE JUDGE


      On February 8, 2016, the United States Magistrate Judge filed with the

court, with a copy to the petitioner, his Recommended Decision on the

defendant/ petitioner’s request for an enlargement of time to file a petition under

28 U.S.C. § 2255. The time within which to file objections expired on February

25, 2016, and no objection has been filed. The Magistrate Judge notified the

petitioner that failure to object would waive his right to de novo review and

appeal.

      It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge is hereby ADOPTED. The petitioner’s motion for enlargement of time to file

a petition for habeas relief under 28 U.S.C. § 2255 is DENIED.

      SO ORDERED.

      DATED THIS 7TH DAY OF MARCH, 2016

                                               /S/D. BROCK HORNBY
                                               D. BROCK HORNBY
                                               UNITED STATES DISTRICT JUDGE
